               Case 2:12-cr-00080-TLN Document 232 Filed 09/27/16 Page 1 of 5


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 HEIKO P. COPPOLA
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-0080 TLN
12
                                   Plaintiff,            STIPULATION AND ORDER EXCLUDING TIME
13                                                       PURSUANT TO AGREEMENT TO DEFER
                             v.                          PROSECUTION
14
     BRETT TOWNSEND,
15
                                   Defendant.
16

17

18           It is hereby stipulated and agreed between the plaintiff, United States of America, by and through

19 the undersigned counsel and defendant, Brett Townsend, by and through his undersigned counsel of

20 record as follows:

21           On September 26, 2016, the parties completed a formal agreement to defer prosecution of the

22 indictment against this defendant for a period of twelve months. The agreement is attached hereto as

23 Exhibit A.

24           The Speedy Trial Act, Title 18, United States Code §3161, at subdivision (h)(2), excludes from

25 computation of the time within which trial must commence “[a}ny period of delay which prosecution is

26 deferred by the attorney for the Government pursuant to a written agreement with the defendant, with

27 the approval of the court, for the purpose of allowing the defendant to demonstrate his good conduct.”

28 //
        STIPULATION AND ORDER EXCLUDING TIME PURSUANT
        TO AGREEMENT TO DEFER PROSECUTION                1
              Case 2:12-cr-00080-TLN Document 232 Filed 09/27/16 Page 2 of 5


 1          The parties agree and jointly request that the Court approve the agreement pursuant to Title 18,

 2 United States Code §3161 (h)(2) and Local Code T1, so that time under the Speedy Trial Act may be

 3 excluded through September 30, 2017. The parties further stipulate and request that, in light of the

 4 agreement set forth herein, the Court vacate the trial confirmation hearing and jury trial date as to this

 5 defendant, presently scheduled for September 29, 2016 and October 31, 2016 respectively, and set a

 6 control date of September 21, 2017, at 9:30 a.m.

 7 Dated: September 26, 2016                                 PHILLIP A. TALBERT
                                                             Acting United States Attorney
 8

 9                                                           /s/ HEIKO P. COPPOLA
                                                             HEIKO P. COPPOLA
10                                                           Assistant United States Attorney
11

12 Dated: September 26, 2016                                 /s/ DAVID D. FISCHER
                                                             DAVID D. FISHER
13
                                                             Counsel for Defendant
14                                                           BRETT TOWNSEND

15

16                                                    ORDER

17          The Court, having received, read and considered the deferred prosecution agreement and the

18 parties’ stipulation, hereby approves the deferred prosecution agreement and adopts the parties’

19 stipulation in its entirety as its order. The Court orders the time from September 30, 2016, up to and

20 including September 30, 2017, shall be excluded from the computation of time within which the trial of

21 this case must be commenced under the Speedy Trial Act, pursuant to Title 18, United States Code

22 §3161 (h)(2) [prosecution deferred by mutual agreement], and Local Code T1. It is further ordered that

23 the trial confirmation hearing scheduled for September 29, 2016 and the jury trial scheduled for October

24 31, 2016 shall be vacated. A control date is set for September 21, 2017, at 9:30 a.m.

25 DATED: September 27, 2016

26

27                                                                   Troy L. Nunley
28                                                                   United States District Judge

      STIPULATION AND ORDER EXCLUDING TIME PURSUANT
      TO AGREEMENT TO DEFER PROSECUTION                  2
         Case 2:12-cr-00080-TLN Document 232 Filed 09/27/16 Page 3 of 5
09/22/2016   20:30                                         STAPLES                   0250                      PAGE   01




                                                                     U.S. DEPARTMENT OF JUSTICE

                                                                     United States Attorney
                                                                     Eastmi District of California
                                                                     Benjamin B. Wagner
                                                                     United Stales Aitol'TIH)'
                                                                     5011 Stn:ct. Suite 10-100   Phone 916/5S4-2700
                                                                      Sac111U1Dlllo, CA 9S814    Fax 916/554-2900
                                                                                                 TI'D 916/S'S4-28SS

                                                                     Sept.ember 20, 2016

       BY EMAIL DELIVERY
       David D. Fischer

              Re:     United StaJes v. Brett T(J}flnsend
                      2:12-CR-0080 TLN

       Dear Mr. Fischer:

               This letter sets forth the tenns of the deferred prosecution agreement between the United
       States and Brett Townsend in the above-referenced matter as follows:

                               DEFERRED PROSECUTION AGREEMENT

              1. On March 1, 2012, the defendan4 Brett Townsend, was charged by Indictment
       with: Conspiracy to Launder Monetary Instruments in violation of 18 U.S.C. §§ 19569h) and
       1956(a)(l)(A)(i). After an investigation of the offense and the defendant's current health
       condition, it appears that the interests of the United States, Mr. Townsend's interests, and the
       interests of justice will be served by the following agreement.

               2. In exchange for the defendant entering into this deferred prosecution agreement, the
       United States Attorney's Office for the Eastern District of California will move to continue this
       matter and wil.i defer p:rosecution against Mr. Townsend on this charge for one year beginning on
       September 30, 2016, provided that Mr. Townsend abides by the conditions and requirements set
       forth below and agrees to appear in court as directed should she violate any of the conditions.
       The parties agree time under the Speedy Trial Act should be excluded from the date of this
       agreement through and including January 25, 2018,pursuantto 18 U.S.C. §3161(h)(2)
       [prosecution deferred by mutual agreement], Local Code TI.

               3. Should Mr. Townsend violate any of the conditions of this agreement. the United
       States Attorney's Office has the sole discretion to revoke or modify any conditions of this
       deferred prosecution agreement The United States Attorney's Office may at any time within the
       one year period reiniti~ prosecution for this offense and any other offense arising out of
       conduct occurring within the aforementioned period of offense should the conditions of this
       agreement be violated. If the United States Attomey's Office decides to revoke, modify, or
         Case 2:12-cr-00080-TLN Document 232 Filed 09/27/16 Page 4 of 5
09/22/2016     20:30                                         STAPLES              0250                     PAGE   02




       U.S. v. Brett Townsend
       DefeJTed Prosecution Agreement
       Septealber20,2016
       Page 2 of3

       prosecute, the defendant will be furnished with notice specifying which conditions of this
       agreement have been violated.

              4. If Mr. Townsend remains in compliance with all of the t.enns and conditions of this
       agreement for one year, beginning on September 30, 2016, and ending on September 30, 2017,
       the United States Attorney's Office will mO\'e to dismiss the indictment against Mr. Townsend,
       and no other prosecution for the offense charged in this matter will be pursued.

                                                   CONDmONS

             1. Brett Townsend shall not violate any federal, state, or local law.
             2. Brett Townsend, through his attorney, shall inform the United States Attorney's Office
                for the Eastern District of California and the Pre~trial Services Department, within
                seventy-two hours of being arrested or cited for a violation any federal, state or local law.

             3. Brett Townsend, through his attorney, shall notify the United States Attorney's Office for
                the Eastern District of California and the Pre-trial Services Department ten days prior to
                any change in residence.
             4. Brett Townsend is under continued pretrial supervision in the Eastern District of
                Califonda and is subject to all of the supervision's terms and conditions until the case is
                dismissed against him.
                         J!.EFENDANT'S ACKNOWLEDGMENTS AND WAIVERS

                 I, Brett Townsend, assert and certify that I am aware that the Sixth Amendment to the
       United States Constitution provides that in all criminal prosecutions the accused shall enjoy the
       right to a speedy and public trial. I also am aware that Rule 48{b) of the Federal Rules of
       Criminal Procedw:e provides that the court may dismiss an indictment for unnecessary delay in
       filing an indiciment or in bringing a defendant to trial. I am also aware that under the Speedy
       Trial Act, Title 18, United States Code, Section 3161(c)(l), the court may dismiss an indictment
       if trial is not commenced within seventy days of the date of filing of the information or the
       defendant's initial appearance before a judicial officer.

              I hereby request that the United Stat.es Attorney's Office for the Eastern District of
       California defer prosecution of the charge in United States v. Brett Townsend, Case No. 2:12-
       CR..0080 TI,N. I agree and consent that any delay caused by this deferred prosecution shall be
       deemed necessary delay, and I waive any defense to such prosecution on the ground that such
       delay operated to_ deny my rights to a speedy trial under Rule 48(b) of the Federal Rules of
       Criminal Procedure and the Sixth Amendment of the Constitution, or to bar the prosecution by
       reason of the running of the statute of limitations for a period of months equal to the period of
       this agreement.
        Case 2:12-cr-00080-TLN Document 232 Filed 09/27/16 Page 5 of 5
09/22/2015   20:30                                         STAPLES               0250                  PAGE   03




       U.S. v. Brett Townsend
       Deferred Prosecution Agreement
       September 20, 2016
       Page 3 of 3

              I hereby state that I have reviewed this agreement in its entirety and had it explained to
       me by my attorney. I understand the conditions of my deferred prosecution and agree that I will
       comply with them. I have considered this Deferred Prosecution Agreement carefully and
       reviewed every part of it with tn.y attorney. I understand it, and I voluntarily agree to it.

               No other prorni$es or inducements have been made to me, other than those contained in
       this Agreement. In addition, no one has threatened or forced me in any way to enter into this
       Defe_rred Prosecution Agreement. Finally, l ,m satis/ied with the representatio~o
       mth1Scase.
       DATED:         9,...<,,2,/6                          By:
                                                                  0>~~
                                                                     ~.a----"--""'C'
                                                                                                     ey



                                                                     BRETT TOWNSEND
                                                                     Defendant

               I have read this Deferred Prosecution Agreement and have discussed it fully with my
       client. The Deferred Prosecution Agreement accurately and completely sets forth the entirety of
       the agreement. I concur in my client's decision to agree to the tenns as·set forth in this Deferred
       Prosecution Agreement.                                      ~~~                                =-
       DATED:        9- 22 --/(,,                           By:    ~
                                                                     DAVID D. FISCHER
                                                                     Attorney for Brett Townsend

              I accept and agree to this Deferred Prosecution Agreement on behalf of the United States
       Attorney's Office for the Eastern District of California.

       DAIBD: _ f.
                 _-)
                   _ ~_ -_ I_(,_ __                                  PHILLIP A. TALBERT
                                                                     Actin~ ~~                rney

                                                            By:
